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Proposed Counsel for Universal
Rehearsal Partners, Ltd.


                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

In re:                                                   §            Chapter 11
                                                         §
UNIVERSAL REHEARSAL                                      §            Case No. 22-31966
PARTNERS, LTD.,                                          §
                                                         §
                 Debtor.                                 §


   DEBTORS' EMERGENCY MOTION FOR ENTRY OF INTERIM AND FINAL
  ORDERS: (I) AUTHORIZING THE DEBTOR TO USE CASH COLLATERAL; (II)
 GRANTING ADEQUATE PROTECTION; (III) SCHEDULING A FINAL HEARING;
                  AND (IV) GRANTING RELATED RELIEF


         Universal Rehearsal Partners, Ltd. (the "Debtor"), as debtor and debtor-in-possession in the

above-referenced chapter 11 case hereby file this Emergency Motion for Entry of Interim and Final Orders (i)

Authorizing the Debtor to Use Cash Collateral; (ii) Granting Adequate Protection; (iii) Scheduling a Final Hearing;

and (iv) Granting Related Relief (the "Motion"). In support of the Motion, the Debtor respectfully states

as follows:




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                                BANKRUPTCY RULE 4001 SUMMARY1

          1.       In accordance with Rule 4001 of the Federal Rules of Bankruptcy Procedure (the

Bankruptcy Rules"), the following table summarizes the material terms of the proposed interim

order attached hereto (the "Interim Order"):

                                         Summary of Material Terms
    Name of        PlainsCapital Bank, a Texas state bank (the "Lender")                                 Interim
    Entity with                                                                                          Order ¶
    Interest in                                                                                          E.
    the Cash
    Collateral

    Purposes       Cash Collateral (defined below) shall be used to fund working capital, operating      Interim
    for the Use    expenses, capital expenditures, fixed charges, compensation, and all other            Order
    of the Cash    general corporate purposes arising in the Debtor's ordinary course of business,
                                                                                                         ¶ 5.
    Collateral     as set forth in the Budget.

    Duration of Unless extended further with the written consent of the Lender (confirmed by Interim
    Use of Cash the entry of a further order of this Court), the authorization granted to the Order
    Collateral  Debtor to use Cash Collateral under the Interim Order shall terminate upon the
                                                                                                       ¶ 5.
                earlier of: (i) end of business on the first business day that is at least 30 calendar
                days after the Petition Date, or any later date the Lender agrees to in writing; (ii)
                further Court order terminating the Debtor's use of Cash Collateral; (iii) the date
                upon which a chapter 11 or chapter 7 trustee is appointed in any of the
                Bankruptcy Cases; (iv) the conversion of the Debtor's bankruptcy case in Chapter
                7; or (v) the occurrence of an Event of Default (as defined below) that is not
                cured by the Cure Period (as defined below) by the Debtor under the Interim
                Order.

    Debtors'       (i) As of the Petition Date, the Debtor was a party to the Note, Security Interim
    Stipulations   Agreement, and Deed of Trust and other Loan Documents with PlainsCapital Order
                   Bank, the Lender; (ii) as of the Petition Date, the Debtor is liable to the Lender
                                                                                                       ¶ E.
                   in the amount of $706,807.25 (the "Prepetition Indebtedness"), though the
                   Maturity Date is not until March 16, 2023; (iii) the Debtor admits, acknowledges,
                   and does not dispute that, as security for repayment of the Prepetition
                   Indebtedness, Lender holds valid, senior, perfected, and enforceable liens (the
                   "Prepetition Liens") in all of the collateral described in the various Loan
                   Documents, which include substantially all of the tangible and intangible personal
                   property assets of the Debtor as of the Petition Date (collectively, the
                   "Prepetition Collateral"); (iv) the Debtor further admits, acknowledges, and
                   does not dispute that: (a) all of the amounts owing to the Lender pursuant to the
                   Loan Documents are legally binding and enforceable obligations of the Debtor;
                   (b) the Loan Documents are valid and enforceable against the Debtor in
                   accordance with their terms; (c) the liens of the Lender in, to, and against all of
                   the Prepetition Collateral are valid, enforceable and properly perfected, and are

1Capitalized terms used but not defined herein shall have the meaning ascribed to such terms below or in the Interim
Order.


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              not subject to avoidance under any state or federal law; and (d) there are no
              existing claims or causes of action of the Debtor, whether liquidated or
              unliquidated, direct or indirect, and whether arising under state or federal law
              (including the Bankruptcy Code) against the Lender, arising from the relationship
              between the Debtor, on one hand, and the Lender, on the other hand.; and (v)
              he Lender's Prepetition Collateral includes cash proceeds and other cash
              equivalents, and all cash and cash equivalent proceeds of the Prepetition
              Collateral, constituting cash collateral of the Debtor within the meaning of 11
              U.S.C. § 363(a) (the "Cash Collateral"). The Cash Collateral also serves as
              security for repayment of the Prepetition Indebtedness.

 Adequate     Subject to the Challenge Period and the Debtor's right to file a Challenge Action, Interim
 Protection   the Debtor stipulates and agree that Lender's asserted liens and security interests Order
              in the Debtor's Prepetition Collateral are perfected, valid, and not avoidable as
                                                                                                  ¶ 8.
              of the Petition Date. The following is provided to the Lender as adequate
              protection ("Adequate Protection") of the Lender's asserted pre-Petition Date
              security interests in the Prepetition Collateral.
              a.   Monthly Note Payments. From the Petition Date and until such time as
                   the Debtor no longer uses the Lender's Cash Collateral, the Debtor shall
                   deliver to the Lender monthly payments due under the Loan Documents at
                   the non-default rate as set forth therein as they come due (the "Adequate
                   Protection Payments"). The first Adequate Protection Payment required
                   to be made by the Debtor to the Lender under this Interim Order shall be
                   paid when due or, if past due, as soon as reasonably practicable after the
                   entry of this Interim Order. Each subsequent Adequate Protection Payment
                   shall be paid timely when due under the Loan Documents during the term
                   of this Interim Order.
              b. Replacement Liens. Notwithstanding anything in section 552 of the
                 Bankruptcy Code to the contrary, the Lender is hereby granted, from and
                 after the Petition Date, replacement liens and security interests in all of the
                 Debtor's assets, including assets acquired after the Petition Date, specifically
                 including all cash proceeds (but excluding any causes of action under chapter
                 5 of the Bankruptcy Code) (the "Adequate Protection Collateral" and,
                 together with the Prepetition Collateral, collectively, the "Collateral"), in the
                 same nature, extent, priority, and validity that such liens existed on the
                 Petition Date (the "Replacement Liens"). The Replacement Liens shall
                 secure the Lender to the extent necessary to adequately protect the Lender
                 from any diminution in value of its interests in property of the Debtor's
                 estate as a result of the entry of this Interim Order and the use of Cash
                 Collateral authorized hereby, and shall have the same validity, priority, and
                 enforceability as Lender's liens on the Debtor's assets on the Petition Date;
                 provided, however, the Replacement Liens shall be junior in priority and in
                 payment to the Carve Out (defined below). The Replacement Liens shall be,
                 and hereby are, granted effective as of the Petition Date, without the
                 necessity of the execution by the Debtor of any security agreement, pledge
                 agreement, financing statement or any other documents, or the necessity of
                 any kind of financing statement or other filing by the Lender.
                 Notwithstanding the foregoing, this Interim Order shall be deemed a security
                 agreement and may be filed as a financing statement and the Debtor shall
                 execute and deliver such notes, security agreements, assignments, financing


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                  statements and other documents that the Lender shall reasonably requests to
                  further evidence the liens and security interests granted hereby.
             c. Super-Priority Claims. To the extent the Replacement Liens granted to the
                Lender in this Interim Order do not provide the Lender with adequate
                protection of its interests in the Cash Collateral, the Lender shall have super-
                priority administrative expense claims in each of the Bankruptcy Cases under
                Bankruptcy Code § 507(b) with priority over every other administrative claim
                of any kind (the "Super-Priority Claims") except the Carve Out. Subject
                only to the Carve Out, the Super-Priority Claims of the Lender shall have
                priority over all other administrative expenses incurred in this case of any
                kind, including such administrative expenses of the kinds specified in, or
                allowable under, sections 365(d)(3), 506(c), 507(a) or 507(b) of the
                Bankruptcy Code. Other than the Carve Out, no costs or expenses of
                administration which have been or may be incurred in these proceedings, any
                conversion of these proceedings pursuant to section 1112 of the Bankruptcy
                Code, or in any other proceeding related hereto, and no priority claims are,
                or will be, prior to or on parity with the Super-Priority Claims of the Lender.
             d. The Lender shall have all the rights and remedies of a secured creditor in
                connection with the liens and security interests granted by this Interim
                Order, except to the extent that such rights and remedies may be affected by
                the Bankruptcy Code or the Challenge Period.

 Carve Out   a.   As used in this Interim Order, "Carve Out" means, the sum of (i) all fees Interim
                  and expenses required to be paid to the Clerk of the Bankruptcy Court and Order
                  the U.S. Trustee pursuant to 28 U.S.C. § 1930(a) plus interest at the statutory
                                                                                                  ¶ 9.
                  rate (without regard to the notice set forth in (iii) below) (collectively, the
                  "Statutory Fees"); (ii) to the extent allowed at any time, whether by interim
                  order, procedural order, or otherwise, all unpaid fees and expenses accrued
                  or incurred by persons or firms retained by the Debtor pursuant to section
                  327, 328, or 363 of the Bankruptcy Code (the foregoing, collectively,
                  "Professional Fees") before or on the first business day following delivery
                  by the Lender of a written notice delivered by email (or other electronic
                  means) to the Debtor, its lead restructuring counsel, and the U.S. Trustee,
                  which notice may be delivered following the occurrence and during the
                  continuation of an Event of Default under the Interim Order that is not
                  cured during the Cure Period stating that the Post-Carve-Out Trigger Notice
                  Cap (as defined below) has been invoked (the "Carve-Out Trigger
                  Notice"); and (iii) Professional Fees in an aggregate amount not to exceed
                  $50,000 incurred after the first business day following delivery by the Lender
                  of the Carve-Out Trigger Notice, to the extent allowed at any time, whether
                  by interim order, procedural order, or otherwise (the amounts set forth in
                  this clause (iv) being the "Post-Carve-Out Trigger Notice Cap"); provided
                  that, nothing in the interim shall be construed to impair the ability of any
                  party to object to the fees, expenses, reimbursement or compensation
                  described in clauses (i), (ii), (iii) or (iv) above, on any grounds.
             b. On the day on which a Carve-Out Trigger Notice is given by the Lender as
                set forth herein (the "Termination Declaration Date"), the Carve-Out
                Trigger Notice shall constitute a demand to the Debtor to utilize all cash on
                hand (including Cash Collateral) as of such date and any available cash



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                  thereafter held by any Debtors to fund a reserve in an amount equal to the
                  then accrued and unpaid amounts of the Professional Fees. Notwithstanding
                  anything to the contrary herein, the Carve Out shall be senior to all liens and
                  claims securing the Prepetition Indebtedness, including the Replacement
                  Liens and the Super-Priority Claims granted to the Lender herein.

 Events of   a.   If the Debtor fails to timely deliver to the Lender the Adequate Protection Interim
 Default          Payments described in this Interim Order;                                   Order
             b. If the Debtor's actual operating disbursements under the Budget exceed the ¶ 10.
                amounts set forth in the Budget by more than the Budget Variance causing
                the Debtor to be incapable of making the Adequate Protection Payments,
                unless with the prior written consent of the Lender or further authority from
                the Court;
             c. If the Debtor pays obligations not shown on the Budget without the prior
                written consent of the Lender or further authority from the Court;
             d. If any representation made by the Debtor after the commencement of the
                Bankruptcy Case in any report or financial statement delivered to the Lender
                proves to have been knowingly false or misleading in any material respect as
                of the time when made or given (including by omission of material
                information necessary to make such representation, warranty or statement
                not misleading)
             e. The Debtor fails to timely provide the information required under Paragraph
                7 of this Interim Order and such failure continues for more than three (3)
                business days following written request by Lender;
             f.   If a trustee or examiner, with authority to affect the operation of the Debtor's
                  businesses, is appointed in these Bankruptcy Cases without the Lender's
                  consent;
             g. If any of these Bankruptcy Cases is converted to a case under chapter 7 of
                the United States Bankruptcy Code; or
             h. If the Debtor violates an obligation under the Interim Order.

 Remedies    Upon the occurrence of a default or breach by the Debtor under the Interim
             Order, then if the Lender intends to declare a default under the terms of this
             Interim Order (an "Event of Default"), the Lender shall first give written notice,
             stating with specificity the nature of the alleged Event of Default to: (a) the Interim
             Debtor; (b) the Debtor's bankruptcy counsel, and (c) counsel for the U.S. Trustee Order
             (which notice may be given by electronic transmission, the automatic stay being
                                                                                                ¶ 11.
             deemed lifted for such purpose) (the "Default Notice"). With respect to an
             Event of Default as to which a Default Notice has been delivered by the Lender
             in accordance with this Interim Order, the Debtor shall have five (5) business
             days from the receipt of the Default Notice to cure the alleged Event of Default
             (the "Cure Period"). If the Lender believes that the Event of Default(s) set forth
             in the Default Notice has not been cured by the expiration of the Cure Period,
             then the Lender shall file a pleading stating with specificity the nature of the
             Event of Default that was not cured or otherwise remains outstanding ("Lender
             Default Motion") and shall be entitled to an emergency hearing on no earlier
             than five (5) business days prior notice via email and ECF upon the Debtor,



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                Debtor's counsel, and the United States Trustee, to seek Court approval to
                exercise its rights and remedies under the Loan Documents, modify or terminate
                the automatic stay under 11 U.S.C. § 362 or otherwise seek relief from the Court.
                Upon the Lender's filing of a Lender Default Motion, the Debtor shall cease
                using Cash Collateral pending further Court Order, except for the payment of
                utilities and security expenses necessary to preserve Lender's Collateral. Nothing
                in this Interim Order shall preclude the Debtor from filing an Emergency Motion
                to use Cash Collateral.

 Challenge      Notwithstanding any other provisions of this Interim Order, any interested party Interim
 Period         in these cases shall have until the date that is 30 calendar days from the Petition Order
                Date (such period, the "Challenge Period"), to commence an adversary
                                                                                                    ¶ 12.
                proceeding against the Lender for the purpose (collectively, a "Challenge
                Action") of challenging the validity, extent, priority, perfection, enforceability
                and non-avoidability of the Lender's Prepetition Liens against the Prepetition
                Collateral. All parties in interest that fail to commence a Challenge Action prior
                to the expiration of the Challenge Period shall be barred forever from
                commencing a Challenge Action and shall be bound by the Stipulations and
                terms set forth in this Interim Order

 Binding        This Interim Order shall be immediately effective as an interim order. Within Interim
 Effect         two (2) business days, the Debtors shall promptly serve a copy of this Interim Order
                Order on: (i) the Office of the United States Trustee; (ii) all creditors the Debtor
                                                                                                      ¶ 15.
                knows either have, or may assert, liens or other charges against the Debtor's
                assets; (iii) the parties on the Debtor's proposed Service List, and (iv) any other
                party or counsel that has filed a request for special notice with this Court. Any
                other further obligation for notice of the relief granted herein shall be, and hereby
                is, dispensed with and waived


                                  JURISDICTION AND VENUE

        2.      The United States District Court for the Northern District of Texas (the "District

Court") has jurisdiction over the subject matter of this Motion pursuant to 28 U.S.C. § 1334. The

District Court's jurisdiction has been referred to this Court pursuant to 28 U.S.C. § 157 and the District

Court's Miscellaneous Order No. 33, Order of Reference of Bankruptcy Cases and Proceedings Nunc Pro Tunc

dated August 3, 1984. This is a core matter pursuant to 28 U.S.C. § 157(b), which may be heard and

finally determined by this Court. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.




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                                           BACKGROUND

A.      OVERVIEW OF THE DEBTOR AND THE CAUSES OF ITS BANKRUPTCY FILING

        3.       Universal Rehearsal Partners, Ltd. (the "Debtor") is a Texas limited partnership

formed in 2001 between John Kirtland ("Kirtland") and Vince Barnhill ("Barnhill") for the

acquisition of certain real property and the operation at that property of a business that leases practice

rooms and rehearsal spaces to musicians and bands. To memorialize their agreement, Kirtland and

Barnhill had previously entered into and executed an Agreement of Limited Partnership of Universal Rehearsal

Partners, Ltd. dated September 26, 2000 (the "LP Agreement"). Pursuant to the LP Agreement,

Kirtland would own 50% of the limited partnership as the Limited Partner, while Barnhill would own

50% as the General Partner. To effectuate the LP Agreement, Kirtland provided $109,000 in cash to

help the Debtor acquire real property on which to operate the business located at 9150 and 9142

Markville, Dallas, TX 75243 (the "Property"). In addition, Kirtland personally guaranteed more than

$900,000 in debt incurred by the Debtor when acquiring the Property. Barnhill was, in essence, the

sweat equity, charged with operating the Debtor's business at the Property in exchange for his 50%

partnership interest.

        4.      Over time, Barnhill began to violate various provisions of the LP Agreement. For

instance, Barnhill failed to properly provide and obtain approval for annual operating budgets as

required. Barnhill failed to escrow and pay the Debtor's real property taxes in a timely manner, often

requiring Kirtland to make capital contributions to avoid ad valorem tax liens and the accrual of

penalties and interest. Barnhill failed to distribute compensation from the Debtor's operations equally

with Kirtland, though obligated to do so under the LP Agreement. Barnhill paid himself and his

d/b/a affiliates compensation from the Debtor without obtaining the authorizations required under

the LP Agreement. From 2012 through 2015, Barnhill failed to cause the Debtor to file required

franchise tax reports with the State of Texas, resulting in the forfeiture of the Debtor's right to conduct



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business in 2012 and again in 2014. Barnhill failed to remedy the Debtor's forfeiture from 2014

through 2016. Barnhill failed to cause the Partnership to file its federal tax returns on time (or at all)

in some years. Barnhill failed to keep accurate books and records of the Partnership's operations,

instead creating a set of books showing lower income which he reported on the Partnership's tax

returns while also keeping an alternate, internal set of books and records showing higher income.

        5.      As Barnhill's operation of the Debtor grew increasingly erratic and unprofessional,

Kirtland learned from the Debtor's former CPA, Thad Tatum, that Barnhill may have been

misappropriating funds from the Debtor. Kirtland's initial investigation into these matters revealed a

decline in revenue and profits, potentially associated with Barnhill's acceptance and misappropriation

of cash payments from customers, Barnhill's self-dealing through d/b/a entities owned by Barnhill,

Barnhill's misuse of rentable business space, and other violations of the LP Agreement.

        6.      Declining reported revenue and increased reported costs eventually led to a breach of

financial covenants in the Debtor's loan documents with PlansCapital Bank ("Lender"). As a result

of the Debtor's covenant defaults, Lender has indicated to the Debtor that it will not extend the March

16, 2023 maturity date (the "Maturity Date") of its loan, evidenced by a Promissory Note between

the Debtor and Lender dated March 16, 2016 in the original principal amount of $929,000 (the

"Note"). The Debtor's Note obligation to Lender is secured by the Property pursuant to a Loan and

Security Agreement dated March 16, 2016 (the "Security Agreement"), and a Deed of Trust, Security

Agreement, Assignment of Leases, Assignment of Rents, and Financing Statement in favor of Lender

recorded on June 6, 2016 (the "Deed of Trust" and collectively, with any other related loan

documents, the "Loan Documents").

        7.      On November 12, 2021, Kirtland removed Barnhill as General Partner in an effort to

stabilizing business operations, increase revenue, and ensure transparency and appropriate financial

controls. In doing so, Kirtland cited no less than 11 grounds for Barnhill's removal under section 4.11



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of the LP Agreement. With appropriate notice, and having satisfied all express requirements of the

LP Agreement, Kirtland concurrently appointed Q PM, LLC, a Texas limited liability company

("QPM"), as the Debtor's new General Partner.

          8.    Under the terms of the LP Agreement, when a GP is removed, the replacement GP

becomes a 1% interest holder in the Debtor. The 1% ownership interest is transferred automatically

from the preceding GP's interest in the Debtor. Accordingly, QPM is 1% interest owner of the

Debtor, and Barnhill became a 49% interest owning limited partner. Kirtland remains a 50% interest

holder.

          9.    Shortly after his removal, Kirtland's litigation counsel retained reputable CPA and

Certified Fraud Examiner Paula Field of Lucrum Accounting to perform a fraud analysis of the Debtor

and its available books, records, tax returns, bank account statements, and other information. On

August 4, 2022, Ms. Field produced her initial Certified Fraud Examiners Report, finding $934,473 of

unreported earnings, a difference of more than $667,000 of compensation paid to Barnhill than

Kirtland, despite the LP Agreement requirement of equal compensation, and more than $163,000 of

misallocated capital contributions owing to Kirtland. In total, Ms. Field determined that under the

terms of the LP Agreement, Kirtland would be entitled to more than $1,335,029 of distributions

before the Debtor could pay any additional money to Barnhill.

          10.   Despite his removal and the Certified Fraud Examiner's findings, Barnhill continued

to act as General Partner of the Debtor. Barnhill continued to appear at the Property, continued to

interact with customers, and on information and belief, continued to collect cash payments or

electronic payments directly from customers at the expense of the Debtor. During 2022, monthly

revenue dropped to as little as $9,888.45 in April, despite $27,930 of reported income the preceding

year. Average monthly income for 2022 has dropped to $14,577, well below 2020's covid-affected

reported average monthly income of $19,717.06, and far below 2021's reported average monthly



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income of $24,221.85.

        11.     According to Kirtland, Barnhill has gone so far as to deny Kirtland and QPM access

to the Property, has locked Kirtland and QPM out of rooms within the Property, has confronted

Kirtland at the Property while armed with a pistol, and has physically assaulted Kirtland while Kirtland

entered the Property. Given Barnhill's behavior, including the use of a pistol to intimidate Kirtland

from securing the Property, the Debtor's current General Partner, QPM, has expressed safety

concerns about taking possession of the Property from Barnhill.

        12.     The result is an untenable situation in which QPM cannot properly operate the Debtor

and maximize revenue due to Barnhill's inappropriate behavior. Even despite pending litigation,

neither Kirtland nor QPM have been able to secure the Property from Barnhill. Given the upcoming

Maturity Date obligation, and the Debtor's lack of means to pay that obligation from cash on hand,

the Debtor is compelled to file for bankruptcy relief, and to administer its assets pursuant to Title 11

of the United States Code (the "Bankruptcy Code").

        13.     On October 21, 2022 (the "Petition Date"), the Debtor commenced this case (the

"Bankruptcy Case") in the United States Bankruptcy Court for the Northern District of Texas (the

"Bankruptcy Court") by filing a voluntary petition for relief under Chapter 11 of the Bankruptcy

Code. The Debtor continues to manage and operate its business as a debtor-in-possession pursuant

to sections 1107 and 1108 of the Bankruptcy Code. No trustee or examiner has been requested or

appointed in this Bankruptcy Case.

B.      DEBTOR MUST USE CASH COLLATERAL TO AVOID IMMEDIATE AND IRREPARABLE
        HARM

        14.     If not allowed to use cash collateral, the Debtor would suffer immediate and

irreparable harm. First, the Debtor would go dark and become incapable of renting practice and

rehearsal space to customers. Normal business operations generate sufficient cash flow to pay

ordinary course of business expenses. Precluding the use of cash collateral would also preclude the


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Debtor from generating income. That lack of income would result in the accrual of obligations of the

estate, with no means to meet those accruing obligations. Recommencing operations, even more so

than already required as a result of Barnhill's interference, would be difficult, time consuming, and

costly. At some point, the Debtor's inability to provide space to its paying customers would result in

a loss of market share, lost relationships, and serious damage to the Debtor's business operations.

That damage may devalue the Debtor's assets or going concern value, should the Debtor pursue a sale

in this Bankruptcy Case. In short, without use of Cash Collateral, the Debtor, its assets, its creditors

and its equity interest holders would be severely and irreparably harmed and damaged.

                                      RELIEF REQUESTED

       15.     The Debtor requests pursuant to sections 105, 361, 362, and 363 of the Bankruptcy

Code and Bankruptcy Rules 2002, 4001, 6003, 6004, and 9014:

               a.      authorization for the Debtor to (i) use Cash Collateral, and all other Prepetition
                       Collateral solely in accordance with the terms of the Interim Order and
                       material compliance with the 4-week cash disbursements and the authorized
                       disbursements under the budget annexed hereto as Exhibit A (as such budget
                       may be modified from time to time, the "Budget"), and (ii) provide adequate
                       protection to the Lender under the Loan Documents;

               b.      that this Court hold an interim hearing on the Motion on an expedited basis
                       to consider the relief requested in this Motion and entry of the proposed
                       Interim Order;

               c.      that this Court schedule a final hearing (the "Final Hearing") to consider
                       entry of a final order (the "Final Order") granting the relief requested in this
                       Motion on a final basis;

               d.      modification of the automatic stay imposed by section 362 of the Bankruptcy
                       Code to the extent necessary, to implement and effectuate the terms and
                       provisions of the Interim Order and the Final Order;

               e.      waiver of any applicable stay with respect to the effectiveness and
                       enforceability of the Interim Order or the Final Order (including, without
                       limitation, a waiver pursuant to Bankruptcy Rule 6004 and a waiver of the
                       applicability of Bankruptcy Rule 4001(a)(3)); and

               f.      that the Court grant such further and other relief as is just and proper.



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                                BASIS FOR RELIEF REQUESTED

A.      EMERGENCY RELIEF

        16.     The Debtor brings this Motion on an emergency basis given the immediate and

irreparable harm that the Debtor will potentially suffer if it is denied the ability to use Cash Collateral,

which is necessary to sustain ongoing business operations and to preserve the value of its assets for

the benefit of the Debtor's estate.

        17.     Absent the continued use of Cash Collateral, the Debtor would likely have to cease its

ongoing operations to the material detriment of its creditors, stakeholders, and other parties in interest.

Therefore, the Debtor needs to ensure the availability of its working capital now.

B.      ADEQUATE PROTECTION AND CASH COLLATERAL

        18.     Pursuant to Bankruptcy Code § 363(c)(2), a debtor-in-possession may not use cash

collateral without the consent of its lender or court approval. 11 U.S.C. § 363(c)(2). Bankruptcy Code

§ 363(e) provides that, upon request of an entity that has an interest in property to be used by the

debtor, the court shall prohibit or condition such use as is necessary to provide adequate protection

of such interest. 11 U.S.C. § 363(e).

        19.     The Bankruptcy Code does not expressly define "adequate protection" or proscribe a

particular form that it must take. See In re Las Torres Dev., L.L.C., 413 B.R. 687, 696–97 (Bankr. S.D.

Tex. 2009) (noting that the Bankruptcy Code "contains no specific, definitive definition of adequate

protection") (citing In re First S. Sav. Ass'n, 820 F.2d 700, 710 (5th Cir. 1987)). Generally, courts decide

what constitutes adequate protection on a case-by-case basis. See In re First S. Sav. Ass'n, 820 F.2d at

710 (noting, with respect to adequate protection, that "'[i]ts application is left to the vagaries of each

case'") (quoting In re Becker Indus., 58 B.R. 725, 736 (Bankr. S.D.N.Y. 1986)); Resolution Tr. Corp. v.

Swedeland Dev. Group, Inc. (In re Swedeland Dev. Group, Inc.), 16 F.3d 552, 564 (3d Cir. 1994) ("[A]

determination of whether there is adequate protection is made on a case by case basis.") (citing In re



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O'Connor, 808 F.2d 1393, 1397 (10th Cir. 1987)); In re Mosello, 195 B.R. 277, 289 (Bankr. S.D.N.Y.

1996) ("The determination of adequate protection is a fact specific inquiry."). The focus of the

adequate protection requirement is to protect a "secured creditor from diminution in the value of its

interest during the Chapter 11 reorganization." In re 495 Central Park Avenue Corp., 136 B.R. 626, 631

(Bankr. S.D.N.Y. 1992); see also In re Hubbard Power & Light, 202 B.R. 680, 685 (Bankr. E.D.N.Y. 1996)

("The goal of adequate protection . . . is to safeguard the secured creditor from diminution in the value

of its interests."); In re Beker, 58 B.R. 725, 736 (Bankr. S.D.N.Y. 1986) (the focus of adequate protection

"is protection of the secured creditor from diminution in the value of its collateral during the

reorganization process").

C.      THE DEBTORS' PROPOSED ADEQUATE PROTECTION FOR THE USE OF CASH
        COLLATERAL

        20.     The Lender asserts liens on the Debtor's Cash Collateral. As adequate protection for

the Debtor's use of the Cash Collateral, the Debtor will provide the Lender with, among other

protection, adequate protection payments of interest and replacement liens.

        21.     Principal and Interest Payments. The Debtor was not in a payment default at the

time it commenced this Bankruptcy Case. The Debtor will continue to make all payments timely as

due under the prepetition Loan Documents (the "Adequate Protection Payments") from the

Petition Date until the Debtor no longer uses the Lender's Cash Collateral. The Adequate Protection

Payments will be paid by the Debtor to the Lender on or before the applicable due date set forth in

the Loan Documents, with interest accruing at the non-default rate.

        22.     Replacement Liens. As further adequate protection, the Debtor will grant the Lender

valid and automatically perfected (without necessity of the execution of additional mortgages, security

agreements, pledge agreements, financing statements, or other documents) replacement liens and

security interests in substantially all of the Debtor's assets, to the same extent, validity and priority, as

the Lender's liens and security interest as of the Petition Date, specifically including all cash proceeds


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arising from the Prepetition Collateral, including accounts receivable and other assets acquired after

the Petition Date (but excluding any causes of action under chapter 5 of the Bankruptcy Code and

proceeds thereof), in the same nature, extent, priority, and validity that such liens existed on the

Petition Date (the "Replacement Liens"). The Replacement Liens will secure the Lender to the

extent necessary to adequately protect the Lender from any diminution in value of its interests in the

property of the Debtor's estates as a result of the use of Cash Collateral. The Replacement Liens,

however, will be junior in priority and payment to the Carve Out (as defined below).

        23.     Super-Priority Claim. To the extent the Replacement Liens granted to the Lender

in this Interim Order do not provide the Lender with adequate protection of its interests in the Cash

Collateral, the Lender shall have, upon notice and hearing and a subsequent Court Order, super-

priority administrative expense claims in the Bankruptcy Cases under Bankruptcy Code § 507(b) with

priority over every other administrative claim of any kind (the "Super-Priority Claims"), except the

Carve Out. Subject to the Carve Out and further Court Order, the Super-Priority Claims of the Lender

shall have priority over all other administrative expenses incurred in this case of any kind, including

such administrative expenses of the kinds specified in, or allowable under, sections 365(d)(3), 506(c),

507(a) or 507(b) of the Bankruptcy Code. Other than the Carve Out, no costs or expenses of

administration which have been or may be incurred in these proceedings, any conversion of these

proceedings pursuant to section 1112 of the Bankruptcy Code, or in any other proceeding related

hereto, and no priority claims are, or will be, prior to or on parity with the Super-Priority Claims of

the Lender. The Lender shall have all the rights and remedies of a secured creditor in connection with

the liens and security interests granted by this Interim Order, except to the extent that such rights and

remedies may be affected by the Bankruptcy Code or the Challenge Period.

        24.     Reporting Requirements. The Debtor will continue to provide the Lender with the

information and otherwise fulfill its reporting requirements as set forth in the Loan Documents.



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        25.     The proposed Adequate Protection, outlined above and as set forth in the proposed

Interim Order, is sufficient to secure the Debtor's projected use of Cash Collateral because the

projected diminution in value, if any, from the use of Cash Collateral is less than the value of the

Adequate Protection proposed to the Lender. Significantly, the Debtor proposes to pay all Note

payments due at the non-default rate as and when due under the Prepetition Loan Documents.

Moreover, the use of Cash Collateral is itself a form of Adequate Protection by preserving or even

increasing the value of the Debtor's overall going concern value by operating during the restructuring

process. See, e.g., In re 495 Cent. Park Ave. Corp., 136 B.R. at 631 (noting that, in determining whether

protection is "adequate," courts consider "whether the value of the debtor's property will increase as

a result of the" use of collateral or provision of financing) (citing Bank of New England v. BWL, Inc.,

121 B.R. 413, 418 (D. ME. 1990)).

D.      THE USE OF CASH COLLATERAL IS NECESSARY TO PRESERVE ASSETS OF THE ESTATES

        26.     The Debtor requires immediate access to liquidity to ensure that they are able to

continue operating during this Bankruptcy Case and to preserve the value of its estate for the benefit

of all parties-in-interest. Substantially all of the Debtor's total cash on hand as of the Petition date is

subject to the liens of the Lender and thus constitutes Cash Collateral.

        27.     The Debtor continues to incur expenses associated with the management of its

ongoing operations, the protection and maintenance of its assets, and the administration of its estate

during the course of this Bankruptcy Case. The Debtor's ability to use Cash Collateral will allow the

continuation of the Debtor's existing operations and lending relationships.

E.      CARVE OUT IS APPROPRIATE

        28.     For purposes hereof, the "Carve Out" means, the sum of (i) all fees and expenses

required to be paid to the Clerk of the Bankruptcy Court and the U.S. Trustee pursuant to 28 U.S.C.

§ 1930(a) plus interest at the statutory rate (without regard to the notice set forth in (iii) below)



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(collectively, the "Statutory Fees"); (ii) to the extent allowed at any time, whether by interim order,

procedural order, or otherwise, all unpaid fees and expenses accrued or incurred by persons or firms

retained by the Debtor pursuant to section 327, 328, or 363 of the Bankruptcy Code (the foregoing,

collectively, "Professional Fees") before or on the first business day following delivery by the Lender

of a written notice delivered by email (or other electronic means) to the Debtor, its lead restructuring

counsel, and the U.S. Trustee, which notice may be delivered following the occurrence and during the

continuation of an Event of Default under the Interim Order that is not cured during the Cure Period

stating that the Post-Carve-Out Trigger Notice Cap (as defined below) has been invoked (the "Carve-

Out Trigger Notice"); and (iii) Professional Fees in an aggregate amount not to exceed $50,000

incurred after the first business day following delivery by the Lender of the Carve-Out Trigger Notice,

to the extent allowed at any time, whether by interim order, procedural order, or otherwise (the

amounts set forth in this clause (iv) being the "Post-Carve-Out Trigger Notice Cap"); provided

that, nothing in the interim shall be construed to impair the ability of any party to object to the fees,

expenses, reimbursement or compensation described in clauses (i), (ii), (iii) or (iv) above, on any

grounds.

        29.     On the day on which a Carve-Out Trigger Notice is given by the Lender as set forth

herein (the "Termination Declaration Date"), the Carve-Out Trigger Notice shall constitute a

demand to the Debtor to utilize all cash on hand (including Cash Collateral) as of such date to fund a

reserve in an amount equal to the then accrued and unpaid amounts of the Professional Fees.

Notwithstanding anything to the contrary herein, the Carve Out shall be senior to all liens and claims

securing Prepetition Indebtedness, including the Replacement Liens and the Super-Priority Claims.

        30.     The Carve Out is similar to other provisions of this type, which have been found to

be reasonable and necessary to ensure that the Debtors' estates and any statutory committee can retain

assistance from counsel. See In re Ames Dep't Stores Inc., 115 B.R. 34, 38 (Bankr. S.D.N.Y. 1990)



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("Indeed, it has been the uniform practice of this Court … to insist on a carve out … in a reasonable

amount designed to provide for payment of the fees of debtor's and the committees' counsel and

possible trustee's counsel in order to preserve the adversary system.").

        31.     Without the Carve Out, the Debtor's estate and other parties-in-interest may be

deprived of possible rights and powers because all of the Debtor's assets would be subject to prior

security interests. See In re Ames Dep't Stores Inc., 115 B.R. at 38 (observing that courts insist on carve

outs for professionals representing parties in interest because "[a]bsent such protection, the collective

rights and expectations of all parties-in-interest are sorely prejudiced"). The Carve Out also protects

against the possibility of administrative insolvency by ensuring that assets remain available for the

payment of statutory and professional fees. Accordingly, the Court should approve the Carve Out.

F.      THE AUTOMATIC STAY SHOULD BE MODIFIED TO A LIMITED EXTENT

        32.     The relief requested herein contemplates a modification of the automatic stay to

permit the Debtor and the Lender to perform the transactions and actions contemplated or permitted

by the Interim Order.

        33.     The stay relief provisions are a reasonable exercise of the Debtor's business judgment,

are appropriate under the present circumstances, and, accordingly, should be approved.

G.      INTERIM RELIEF IS WARRANTED

        34.     Pursuant to Bankruptcy Rule 4001(b)(2), a final hearing on a motion to use cash

collateral may not be commenced before 14 days after service of the applicable motion. FED. R.

BANKR. P. 4001. This Court may, however, conduct a preliminary hearing before the expiration of

that fourteen-day period and likewise authorize the use of Cash Collateral, if necessary, to the extent

necessary to avoid immediate and irreparable harm to a debtor's estate. Id.

        35.     The Debtor and its estate will suffer immediate and irreparable harm if the interim

relief requested herein authorizing the Debtor to use the Cash Collateral is not granted promptly. The



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Debtor believes that the commencement of this Bankruptcy Case has already and will continue to

significantly increase the demands on its cash as a result of, among other things, the costs of

administering this Bankruptcy Case, securing the Property, revitalizing operations, and addressing key

constituents' concerns regarding the Debtor's financial health and ability to continue operations. The

Debtor has an immediate need for access to liquidity to, among other things, permit the orderly

continuation of the operation of its business and to satisfy other working capital and operation needs,

all of which are required to preserve and maintain the Debtor's going concern value and the value of

the Debtor's assets for the benefit of all parties in interest.

        36.     The alternative in this case is "to force the debtor to close down their operations and

thus doom any effort at reorganization which will hopefully extract the maximum value of the assets

involved to the benefit of all classes of creditors and other constituencies involved in this case." In re

Dynaco Corp., 162 B.R. 389, 396 (Bankr. D.N.H. 1993) (alteration in original). This result would be at

fundamental odds to the rehabilitative purposes of Chapter 11, therefore, approval of this Motion is

warranted.    Id. at 394 (noting that "it is apparent that the Congress intended business under

reorganization to proceed in as normal a fashion as possible") (quoting In re Prime, Inc., 15 B.R. 216,

219 (Bankr. W.D. Mo. 1981)).

        37.     In examining requests under Bankruptcy Rule 4001, courts apply the same business

judgment standard applicable to other business decisions. See In re Simasko Production Co., 47 B.R. 444,

449 (D. Colo. 1985); In re Ames Dept. Stores, Inc., 115 B.R. 34, 39–40 (Bankr. S.D. N.Y. 1990). The

Debtor submits that, for the reasons set forth herein, the immediate use of Cash Collateral, on an

interim basis, as requested in this Motion is necessary to avert immediate and irreparable harm to the

Debtor's businesses and its estate. After the 14-day period, however, the request for use of cash

collateral is not limited to those amounts necessary to prevent harm to the Debtor's business.

        38.     The Debtor requests that the Court conduct an emergency preliminary hearing on the



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Motion and authorize the Debtor, from and after the entry of the Interim Order until a Final Hearing

on the relief requested herein, to use Cash Collateral, as necessary. Such authorization will ensure that

the Debtor maintains ongoing operations and avoids immediate and irreparable harm and prejudice

to its estate and all parties in interest pending the Final Hearing.

        39.     Accordingly, for all of the reasons set forth above, prompt entry of the Interim Order

is necessary to avert immediate and irreparable harm to the Debtor's estate and is consistent with, and

warranted under, Bankruptcy Rules 4001(b)(2) and (c)(2).

H.      REQUEST FOR FINAL HEARING

        40.     As noted above, pursuant to Bankruptcy Rules 4001(b)(2), the Debtor respectfully

requests that the Court set a date for the Final Hearing at the earliest date and time of the Court's

convenience that will ensure adequate notice and due process to all parties-in-interest to this

Bankruptcy Case.

        41.     The Debtor respectfully requests that they be authorized to serve a copy of the signed

Interim Order, which fixes the time and date for the filing of objections, if any, by first-class mail on

the Notice Parties (as defined below) and to any other party that has filed a request for notices with

this Court, if the same shall have filed a request for notice. The Debtor respectfully requests that the

Court consider such notice of the Final Hearing to be sufficient notice under Bankruptcy Rule 4001.

I.      BANKRUPTCY RULE 6003 HAS BEEN SATISFIED

        42.     Bankruptcy Rule 6003 provides that, to the extent relief is necessary to avoid

immediate and irreparable harm, a bankruptcy court may issue an order granting "a motion to use,

sell, lease, or otherwise incur an obligation regarding property of the estate, including a motion to pay

all or part of a claim that arose before the filing of the petition" before twenty-one days after filing of

the petition. Here, the Debtor believes an immediate and orderly transition into Chapter 11 is critical

to the viability of its business operations. Any delay in granting the relief requested could hinder the



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Debtor's business operations and cause irreparable harm to the Debtor's estate, thus threatening the

Debtor's ability to reorganize successfully. Accordingly, the Debtor has satisfied the requirements of

Bankruptcy Rule 6003.

J.      REQUESTS FOR BANKRUPTCY RULES 4001 AND 6004 WAIVERS

        43.     The Debtor requests a waiver of the notice requirements under Bankruptcy Rule

6004(a) and any stay of the order granting the relief requested herein pursuant to Bankruptcy Rules

4001(a)(3) and 6004(h). As explained above and in the Kirtland and Morriss Declarations, the relief

requested herein is necessary to avoid immediate and irreparable harm to the Debtor. Accordingly,

ample cause exists to justify the waiver of the notice requirements under Bankruptcy Rule 6004(a) and

the 14-day stay imposed by Bankruptcy Rules 4001(a)(3) and 6004(h), to the extent such stay applies.

                                               NOTICE

        44.     Notice of this Motion will be provided to: (i) the Office of the United States Trustee;

(ii) the Lender and its counsel; (iii) any party whose interests are directly affected by this specific

pleading; (iv) those persons who have formally appeared and requested notice and service in these

proceedings pursuant to Bankruptcy Rules 2002 and 3017; (v) counsel for Vince Barnhill; (vi) counsel

for John Kirtland; (vii) the Debtor's 20 largest unsecured creditors; and (viii) all governmental agencies

having a regulatory or statutory interest in these cases (collectively, the "Notice Parties"). Based on

the urgency of the circumstances surrounding this Motion and the nature of the relief requested herein,

the Debtor respectfully submits that no further notice is required.

                                               PRAYER

        WHEREFORE, based on the foregoing, the Debtor respectfully requests that the Court (i)

grant the Motion, and (ii) grant such other and further relief as is just and proper.




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DATED: October 21, 2022                        Respectfully submitted,

                                               KANE RUSSELL COLEMAN LOGAN PC

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